                                                                                 Case 3:10-cv-03142-TEH Document 27 Filed 09/10/10 Page 1 of 1



                                                                          1                          IN THE UNITED STATES DISTRICT COURT
                                                                          2                      FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                          5   BOYD REAL PROPERTY, LLC,
                                                                          6                           Plaintiff,              NO. C10-3142 TEH
                                                                          7                     v.                            ORDER VACATING MOTION
                                                                                                                              TO DISMISS
                                                                          8   THE MARIO JUAREZ SELLING
                                                                              TEAM, et al.,
                                                                          9
                                                                                                      Defendants.
                                                                         10
United States District Court




                                                                         11
                               For the Northern District of California




                                                                         12         Several defendants filed a motion to dismiss on August 6, 2010, while this case was
                                                                         13 pending before a magistrate judge. Following Plaintiff’s declination to consent to proceed
                                                                         14 before a magistrate judge, the case was reassigned to this Court. On August 13, 2010, the
                                                                         15 parties were instructed that all pending motions would be taken off-calendar and would need
                                                                         16 to be re-noticed.
                                                                         17         Defendants have yet to re-notice their motion to dismiss, and this Court now
                                                                         18 VACATES the motion without prejudice.
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                                                                         20 IT IS SO ORDERED.
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                                                                         22 Dated: 09/10/10
                                                                                                                   THELTON E. HENDERSON, JUDGE
                                                                         23                                        UNITED STATES DISTRICT COURT
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